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                                                               FILED: September 29, 2021

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                            No. 21-1737
                                    (3:20-cv-00596-MOC-DSC)
                                      ___________________

        JOHN COBLE.; ROBIN COBLE, on behalf of minor child J.H.C.

                     Plaintiffs - Appellants

        v.

        LAKE NORMAN CHARTER SCHOOL, INC.; RICK BUCKLER, Board
        Chairman; LESLIE FOGARTY, Board Vice-Chairman; JARED TILLEY,
        Treasurer and Board Member; STEPHANIE PAINTER, Secretary and Board
        Member; AMY CARR, Board Member; RIDGELY CHAPMAN, Board Member;
        JENNIFER JOHNSON, Board Member; GREG KILPATRICK, Board Member;
        ELIZABETH TIMKOVICH, Board Member

                     Defendants - Appellees

                                      ___________________

                                           ORDER
                                      ___________________

              Upon consideration of the motion to voluntarily dismiss this case pursuant to

        Rule 42(b) of the Federal Rules of Appellate Procedure, and there appearing no

        opposition, the court grants the motion.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk




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